             DISTRICT COURT OF APPEAL OF FLORIDA
                       SECOND DISTRICT


                           JENNIFER MARLOW,

                               Appellant,

                                   v.

           NEWREZ, LLC, f/k/a NEW PENN FINANCIAL LLC
       d/b/a SHELLPOINT MORTGAGE SERVICING; MICHAEL
    D. HARRIS a/k/a Michael Harris, Trustee of Marlow 94 Family
    Trust; UNKNOWN BENEFICARY OF THE SARASOTA COASTAL
    CREDIT UNION; UNITED STATES OF AMERICA; and INTERNAL
                      REVENUE SERVICE,

                               Appellees.


                            No. 2D2023-1692



                            August 23, 2024

Appeal from the Circuit Court for Sarasota County; Stephen M. Walker,
Judge.

Jennifer Marlow, pro se.

Adam A. Diaz of Diaz Anselmo &amp; Associates P.A., Fort Lauderdale, for
Appellee New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing.

No appearance for remaining Appellees.

MORRIS, Judge.
     Jennifer Marlow appeals from several orders issued by the trial
court in an underlying foreclosure action brought by New Penn Financial
LLC d/b/a Shellpoint Mortgage Servicing. One of those orders denied
Marlow's motion for relief from judgment filed pursuant to Florida Rule of
Civil Procedure 1.540(b). Where certain grounds are alleged in a rule
1.540(b) motion, including fraud (whether intrinsic or extrinsic), the
motion must be brought "not more than [one] year after the judgment,
decree, order, or proceeding was entered or taken." Fla. R. Civ. P.
1.540(b)(1)-(3), (5). If the ground asserted is that the judgment, order, or
decree is void, however, the one-year requirement is not applicable. See
Fla. R. Civ. P. 1.540(b)(4).
      Here, although Marlow included the word "void" in a few instances
within the motion, it is clear that her claims were really predicated on
allegations of fraud. Thus she was required to file her rule 1.540(b)(3)
motion no later than one year after the final summary judgment of
foreclosure was entered. The final judgment was entered in October
2019, and this court affirmed that judgment in December 2020. Marlow
did not file her rule 1.540 motion until April 2023, well after the one-year
deadline set forth in the rule.
      However, Marlow contends that her claim was one of fraud on the
court and that an exception to the one-year time requirement applies. A
claim of fraud on the court may be brought in one of two ways: either
under rule 1.540(b)(3), in which case the one-year time requirement
applies, or in an independent action which may be brought at any time.
See Bank One, Nat'l Ass'n v. Batronie, 884 So. 2d 346, 348 n.1 (Fla. 2d
DCA 2004). The only way to avoid the one-year time requirement for a
claim of fraud on the court is to file an independent action. Holt v. Holt,
257 So. 3d 1155, 1157 (Fla. 1st DCA 2018) ("[A] party alleging fraud on
the court, also referred to as extrinsic fraud, may seek relief more than
one year after the [judgment] only by filing an independent action."); see

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also Parker v. Parker, 950 So. 2d 388, 391-92 (Fla. 2007) (explaining that
the one-year time requirement for seeking relief from judgment based on
extrinsic fraud does not apply if the party seeking relief has filed an
independent action).
      Marlow raised her claims of fraud within her rule 1.540(b) motion,
not by filing an independent action. Consequently, she was bound by
the one-year time requirement set forth in the rule. Because she filed
her motion more than one year after the final judgment, the motion was
untimely.
      Florida Rule of Appellate Procedure 9.130(a)(5) only permits this
court to review an order denying a motion for relief from judgment
brought pursuant to rule 1.540(b) if the motion is authorized and timely.
Because Marlow's motion was untimely, we lack jurisdiction to review the
trial court's order on the motion. See Findlay v. Star Lakes Ass'n, 49 Fla.
L. Weekly D362, D362 (Fla. 3d DCA Feb. 14, 2024) (explaining that
where motion was filed six years after the amended final judgment of
foreclosure, the motion was untimely and thus appellate court lacked
jurisdiction to consider the appeal pursuant to rule 9.130(a)(5)); Christ v.
Christ, 103 So. 3d 1056, 1057 (Fla. 1st DCA 2013) (explaining that ruling
on untimely motion for relief from judgment cannot be reviewed
pursuant to rule 9.130(a)(5)). We therefore dismiss this portion of the
appeal for lack of jurisdiction.
      We find no merit to Marlow's arguments relating to the other orders
on appeal, and we affirm those orders without further comment.
      Dismissed in part and affirmed in part.


SLEET, C.J., and LaROSE, J., Concur.



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Opinion subject to revision prior to official publication.




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